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 6                                         THE HONORABLE JOHN C. COUGHENOUR

 7                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE

 9   PUGET SOUNDKEEPER ALLIANCE, et al.,
                                              Case No. 2:15-cv-01342-JCC
10                    Plaintiffs,
                                              PLAINTIFFS’ COMBINED REPLY IN
11         v.                                 SUPPORT OF MOTION FOR SUMMARY
                                              JUDGMENT AND RESPONSE TO CROSS-
12   ANDREW WHEELER, et al.,                  MOTION

13                   Defendants,              ORAL ARGUMENT REQUESTED
     and
14
     AMERICAN FARM BUREAU FEDERATION,
15   et al.,

16              Intervenor-Defendants.

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24   PLAINTIFFS’ COMBINED REPLY IN                               Earthjustice
     SUPPORT OF MOTION FOR SUMMARY JUDGMENT                      705 Second Ave., Suite 203
                                                                 Seattle, WA 98104
25   AND RESPONSE TO CROSS-MOTION
                                                                 (206) 343-7340
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 1                                            INTRODUCTION

 2           This case challenges an unlawful expansion of the so-called Waste Treatment System

 3   Exclusion, codified for the first time in 2015 without public notice or opportunity to comment.

 4   Defs. Cross Mot. and Opp., Dkt. 79 at 3-5. Defendants Environmental Protection Agency

 5   (“EPA”) and Army Corps of Engineers (“Agencies”) admit that they refused to consider

 6   comments on the substance of that action, limiting public comment to “ministerial adjustments.”

 7   Id. at 1, 17. The Agencies further admit that vacating their 2015 action will not stop the Agencies

 8   from relying on a 1980 un-promulgated Federal Register notice as the basis for applying the

 9   expanded exclusion. Id. These defects are fatal to the Agencies’ 2015 adoption of the expanded

10   Waste Treatment System Exclusion. Without an adequate remedy, not only will the challenged

11   action lead to more destruction and pollution of “waters of the United States,” it will also

12   establish a precedent and a template for any federal agency to make end-runs around mandatory

13   public participation requirements through the subterfuge of a temporary un-promulgated action.

14   Plaintiffs therefore reiterate their request for declaratory and injunctive relief.

15                                               ARGUMENT

16   I.      THE EXPANDED WASTE TREATMENT SYSTEM EXCLUSION IS
             UNLAWFUL.
17
             The Agencies do not attempt to deny that their expansive interpretation of the Waste
18
     Treatment System Exclusion strips natural “waters of the United States” of Clean Water Act
19
     jurisdiction when those waters are used as part of a waste treatment system. Unlike the narrow
20
     version lawfully-promulgated in May 1980, the expanded exclusion codified in 2015 is
21
     irreconcilable with the Act’s categorical prohibition against the discharge of pollutants into
22
     “waters of the United States” absent a permit demonstrating compliance with water quality
23
     standards and technology-based limits. 33 U.S.C. §§ 1311(a), 1342; Mot. S. J. at 7-8. It also
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                                                                                     Earthjustice
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 1   contravenes the Agencies’ own finding that impounded “waters of the United States” remain

 2   under the protective jurisdiction of the Clean Water Act even after impounded. Id.

 3          The Agencies and Intervenor-Defendants’ arguments to the contrary attempt to stretch

 4   the Agencies’ statutory authorities far beyond what is supported by the Act. While the Agencies

 5   have authority to interpret the scope of the term “waters of the United States,” the authority to

 6   interpret does not include the authority to remove such waters from Clean Water Act jurisdiction

 7   so they can be pressed into service as waste dumps. They nonetheless argue that the expanded

 8   exclusion is permissible because companies seeking to use jurisdictional waters for that purpose

 9   must first obtain a Clean Water Act § 404 permit to impound a water and turn it into a “waste

10   treatment system,” as well as a § 402 permit to discharge polluted effluent from the newly-

11   created waste pond into downstream waters. Dkt. 79 at 19-20; Dkt. 72 at 1-2. Congress provided

12   sections 402 and 404 as specific and narrow exceptions to the blanket no-discharge rule; the

13   possession of a permit for one activity in no way obviates other applicable permit requirements.

14   The Agencies identify no language in the Clean Water Act that allows them to expand their

15   authority in this manner, and even if they had identified a relevant statutory ambiguity (which

16   they do not), their expanded interpretation of the exclusion is patently unreasonable.

17   II.    ADOPTION OF THE EXPANDED WASTE TREATMENT SYSTEM
            EXCLUSION WAS A FINAL ACTION SUBJECT TO JUDICIAL REVIEW.
18
            The Agencies seek to limit the Court’s review in this case to certain “ministerial tweaks”
19
     adopted in the 2015 Rule, arguing that they did not “reopen” the exclusion as part of that
20
     rulemaking. Dkt. 79 at 12 (arguments regarding traceability), id. 15-16 (arguments regarding
21
     timeliness). Relatedly the Agencies argue that Plaintiffs’ claims are untimely because the
22
     omission of narrower language is “not new to the 2015 rule.” Dkt. 79 at 15-16. These arguments
23
     strenuously avoid the fact that the 2015 Rule permanently codified an expanded interpretation of
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 1   the exclusion for the first time ever. See “Clean Water Rule: Definition of ‘Waters of the United

 2   States,’” 80 Fed. Reg. 37,054, 37,056 (June 29, 2015). Before then, the only lawfully-

 3   promulgated version of the exclusion stated that it was limited to “manmade bodies of water”

 4   that “neither were originally created in waters of the United States (such as a disposal area in

 5   wetlands) nor resulted from the impoundment of waters of the United States.” Mot. S.J. at 5,

 6   citing 45 Fed. Reg. 33,290, 33,424 (May 19, 1980). Indeed, because EPA only ever purported to

 7   temporarily “suspend the effectiveness” of the limiting language in 1980, in a notice and not a

 8   public rulemaking, Dkt. 79 at 4, the Agencies could only permanently codify that alteration and

 9   the expanded interpretation of the exclusion through a full notice and comment rulemaking.

10          The Agencies undertook an affirmative decision and action to adopt the expanded

11   exclusion in 2015, simultaneously lifting the suspension and suspending the same language. 80

12   Fed. Reg. at 37,114. They also made minor textual changes, renumbering paragraphs and

13   deleting an obsolete cross-reference to ensure that the expanded exclusion would fit in with their

14   newly-revised definition of “waters of the United States.” And the Agencies affirmed – for the

15   first time in a rulemaking process – a broad interpretation of the exclusion that extends even to

16   systems built in jurisdictional waters. Final Rule, 80 Fed. Reg. at 37,097 (discussing waste

17   treatment systems “built in a ‘water of the United States’”). These actions “mark[ed] the

18   ‘consummation’ of the agency’s decisionmaking process.” See Bennett v. Spear, 520 U.S. 154

19   (1997). And, because they codify both the language and the expanded interpretation of the

20   exclusion for the first time, they are actions “by which ‘rights or obligations have been

21   determined,’ or from which ‘legal consequences will flow.’” Id.

22          The Agencies nonetheless argue that they did not “substantively reconsider the

23   exclusion” and merely continued it “unchanged.” Dkt. 79 at 6, 16. That implies that the

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 1   Agencies in 2015 were acting upon a regulatory backdrop in which “the exclusion” had a settled

 2   definition as the expanded exclusion, minus the original limiting language. On the contrary, the

 3   Agencies had never promulgated that version or that interpretation of the exclusion. As both the

 4   Agencies and Intervenor-Defendants emphasize, the Agencies’ interpretation of the same

 5   regulatory text has changed over time, even after the 1980 temporary suspension of the

 6   exclusion’s original limiting language. Dkt. 79 at 20; Dkt. 72 at 6-7. In fact, as late as 1986,

 7   EPA’s Office of Solid Waste continued to interpret the exclusion narrowly. See Decl. of Jennifer

 8   C. Chavez, Ex. B. at 6-7 (noting that “the preamble to the May 19, 1980 regulation suggest[s]

 9   that prior [Clean Water Act] regulations, like the [Clean Water Act] itself, were ‘not intended to

10   license dischargers to freely use waters of the U.S. as waste treatment systems’”).

11          While the Agencies claim they did not intend to “address the substance” of the exclusion,

12   id. at 16, the Agencies did address comments and take responsive action aimed at assuring

13   regulated industry they were not narrowing the interpretation; they refused to consider comments

14   aimed at restoring the original narrow scope of the exclusion. (See id. 6, 16-17). Yet both sets of

15   comments related to the “substance” of the exclusion.

16          The decision to codify the expanded Waste Treatment System Exclusion for the first time

17   not only required but actually entailed an affirmative agency action. The codification of the

18   expanded exclusion was, by its very nature, a final action subject to judicial review. For the

19   same reasons, Plaintiffs’ complaint is timely because the 2015 Rule is well within the general

20   statute of limitations under 28 U.S.C. § 2401.

21          In any event, federal courts have repeatedly held that certain actions are final agency

22   actions subject to judicial review even though the actions maintained the status quo. See, e.g.,

23   City of Chicago v. United States, 396 U.S. 162, 166 (1969); Havasupai Tribe v. Provencio, 906

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 1   F.3d 1155, 1162 (9th Cir. 2018), cert. denied, 2019 WL 1331355 (U.S. May 20, 2019); Oregon

 2   Nat. Desert Ass’n v. U.S. Forest Serv., 465 F.3d 977, 990 (9th Cir. 2006).

 3   III.   PLAINTIFFS HAVE STANDING TO CHALLENGE THE EXPANDED WASTE
            TREATMENT SYSTEM EXCLUSION.
 4
            Plaintiffs have demonstrated standing to challenge two interrelated failures in the 2015
 5
     Rule: the adoption of the Waste Treatment System Exclusion, and the Agencies’ refusal to
 6
     comply with mandatory public participation requirements before doing so. The blanket exclusion
 7
     of Waste Treatment Systems created in “waters of the United States” in 2015 was a final agency
 8
     action, as discussed in Section II, below. The only open questions are the timing, locations, and
 9
     extent of the harm that the expanded exclusion will enable.
10
            A.      Plaintiffs Have Identified An “Injury In Fact” That Satisfies The
11                  Requirements For Standing.

12          To show standing, harm must be “imminent,” meaning that it must be more than merely

13   “conjectural” or “hypothetical” or otherwise speculative. Summers v. Earth Island Inst., 555 U.S.

14   488, 505 (2009), citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). While this

15   lawsuit involves a facial challenge to the Agencies’ adoption of the expanded Waste Treatment

16   System Exclusion in their 2015 Rule, rather than a direct challenge to any particular discharge

17   permit, Plaintiffs submitted member declarations identifying two particular industrial sites where

18   the expanded exclusion has been or will be used to destroy “waters of the United States” and use

19   them as “waste treatment systems.” Decl. of Myron Angstman, Dkt. 67-3 at ¶¶6-19; Decl. of

20   James DeWitt, Dkt. 67-6 at ¶¶13-17. Contrary to the Agencies’ argument, these allegations of

21   harm are not merely “generalized grievances and speculation.” Dkt. 79 at 10. Rather, they

22   involve particularized proposals for industrial “waste treatment system” located in jurisdictional

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 1   “waters of the United States,” where published proposals show that the waters thus used have

 2   been or will be excluded from basic Clean Water Act protections.

 3          Sierra Club member Myron Angstman describes an application of the expanded

 4   exclusion at the proposed Donlin Gold Mine Project, upstream from his home in Bethel, Alaska:

 5                  [T]he mine plan involves impounding portions of American Creek
                    and Lewis Gulch, both tributaries of Crooked Creek, and using them
 6                  to form a large pit lake and two contact water impoundments. . . . to
                    hold liquid waste that runs off from industrial operations within the
 7                  Donlin Gold Mine Project site, and allow this effluent to settle or be
                    treated before it is discharged into waters outside of the Project area,
 8                  so that the mine operator can avoid violating water quality standards
                    outside of the Project’s designated boundaries.
 9
     Dkt. 67-3 at ¶ 13 (emphasis in original). Mr. Angstman notes that “[t]hese impoundments are
10
     thus integral to the mine plan,” meaning that the expanded Exclusion is being applied to natural
11
     “waters of the United States” inside the project area in order to prevent water that is too polluted
12
     to meet water quality standards from being discharged outside of the project area. Id. And while
13
     Mr. Angstman also predicts that this “waste treatment system” ultimately will fail to protect
14
     water quality outside the project area, that risk of failure is a secondary – though highly relevant
15
     – harm. Contra Dkt. 79 at 11; Dkt. 72 at 13. The primary harms stem from the proposal to strip
16
     American Creek and Lewis Gulch of Clean Water Act protections and convert them to a “pit lake
17
     and two contact water impoundments” that will be filled with polluted runoff from the mine.
18
     Dkt. 67-3 at ¶ 13. This harms Mr. Angstman’s interests in preserving good water quality in
19
     Crooked Creek, a tributary to the Kuskokwim River, to which he has a close personal connection
20
     and values for its salmon-spawning habitat and natural beauty, and which he uses and enjoys and
21
     intends to continue doing so in the future. Dkt. 67-3, ¶¶ 3-4, 6-10. Plaintiff Sierra Club thus has
22
     standing to defend Mr. Angstman’s recreational and aesthetic interests in the Kuskokwim River,
23
     Crooked Creek, and their tributaries.
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 1           Idaho Conservation League member James DeWitt’s declaration describes the

 2   destruction and use of Pinyon Creek as part of a “waste treatment system” under EPA’s permit

 3   for the Hecla Grouse Creek Mine in Idaho:

 4                   This site includes a large pile of mine tailings and overburden that
                     generates effluent containing high concentrations of cadmium,
 5                   copper, lead, mercury, zinc, sediment, and acidity. The effluent is
                     collected in a settling pond located at the base of the
 6                   tailings/overburden pile, then discharged from the settling pond into
                     Pinyon Creek. It then flows through Pinyon Creek and into Jordan
 7                   Creek.

 8   Dkt. 67-6 ¶ 14. The Agencies acknowledge that the permit for this operation imposes water

 9   quality-based effluent limitations “where Pinyon Creek flows into Jordan Creek,” see Dkt. 79 at

10   12, but does not claim that the permit applies Clean Water Act protections at the point where the

11   tailings pile discharges pollutants into the settling pond formed by an impoundment in Pinyon

12   Creek, nor to the segment of Pinyon Creek flowing between the settling pond and Jordan Creek.

13   Id. The Agencies contend that Mr. DeWitt “does not show any possibility of being injured,” id.,

14   yet this claim disregards his express objection to fact that portions of Pinyon Creek itself have

15   been excluded from water quality-based protections in a final Clean Water Act permit in order to

16   facilitate pollution-generating activities at the site. Dkt. 67-6, ¶ 14. 1 The exploratory Project is

17   located on tributaries to the Salmon River in parts of the watershed upstream from where Mr.

18   DeWitt frequently uses and enjoys waters and nearby bird-watching sites for recreation and

19   aesthetic enjoyment and plans to continue doing so in the future. See Dkt. 67-6 at ¶¶ 8-9, 13. 2

20
     1
      See also Interv. Opp. and Cross-Mot., Dkt. 72 at 15 and Dkt. 73-13 at 31, suggesting that
21   Pinyon Creek was “dewatered” to facilitate its use as a “waste treatment system.”
     2
22     Mr. DeWitt also identifies the Stibnite Gold Project in Idaho, the proposal for which “involves
     using some... natural streams to convey and treat waste.” Dkt. 67-6 at ¶ 13. Intervenor-
23   Defendants have submitted a declaration from the General Counsel for the project proponent
     claiming that the mine would not rely on the expanded Waste Treatment System Exclusion. Dkt.
24
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 1          Notably, the Agencies do not attempt to deny outright that the proposed activities

 2   described in these declarations rely on application of the expanded Waste Treatment System

 3   Exclusion. Instead they argue that Plaintiffs’ only possess a “subjective belief” that the exclusion

 4   applies or will apply. But the Clean Water Act itself forbids discharges of pollutants into

 5   jurisdictional “waters of the United States,” absent a discharge permit that complies with

 6   applicable water quality standards. See Mot. S.J. at 1-2, discussing 33 U.S.C. §§ 1311, 1342,

 7   1344. The Agencies make no attempt to explain how, for example, an applicant could be allowed

 8   to use American Creek and Lewis Gulch to form a “pit lake and two contact water

 9   impoundments… to hold liquid waste” from the Donlin Gold Mind Project absent an exemption

10   from water quality standards under the expanded Waste Treatment System Exclusion.

11          The Agencies and Intervenors also argue that Plaintiffs’ examples of harm are not yet

12   sufficiently certain or imminent to meet standing requirements to the extent they are in the

13   proposal stage. See Dkt. 74 at 11; Dkt. 72 at 14. As an initial matter, permitting agencies

14   typically do not announce their reliance on the expanded Waste Treatment System Exclusion or

15   track its application. Instead, as reflected in the Ohio Valley Environmental Coalition litigation,

16   members of the public usually learn about it when they find that a permit involves discharges

17   into “waters of the United States” that do not meet water quality standards and could not be

18   allowed absent the expanded Waste Treatment System Exclusion. In that case the “Corps did not

19   ‘adopt[] and rely[]’ upon the EPA interpretation of ‘waste treatment system’ until... a full year

20   after the [Corps] permit was issued and a month after Plaintiffs filed their motion for partial

21

22   74 at ¶ 15; Dkt. 81 81-1. But the same published “Plan of Restoration and Operations” shows
     that portions of Fiddle Creek and Meadow Creek would be used as settling ponds or channels for
23   conveying polluted runoff away from mining operations. See Decl. of Jennifer C. Chavez, Ex. A;
     see also Dkt 67-6 at ¶ 13 (describing “the proposal for this project.”)
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 1   summary judgment.” Ohio Valley Envtl. Coal. v. U.S. Army Corps of Engineers, No.

 2   CIV.A.3:05-0784, 2007 WL 2200686, at *6 (S.D.W. Va. June 13, 2007), rev’d sub nom. Ohio

 3   Valley Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177 (4th Cir. 2009). The absence of explicit

 4   language invoking the exclusion is not determinative.

 5          Furthermore, Plaintiffs’ examples come from their review of official published proposals,

 6   mine plans, and analyses. This is entirely unlike the situation in Summers v. Earth Island Inst.,

 7   555 U.S. 488, 495 (2009), where the court found it was “impossible to tell which projects are (in

 8   respondents’ view) unlawfully subject to the regulations.” Far from speculative, Mr. Angstman’s

 9   concerns stem from mine plans analyzed in the Corps’ “Final Environmental Impact Statement

10   for the [Donlin Gold Mine] Project.” Dkt. 67-3 at ¶ 10. See also Dkt. 67-4 at ¶ 11 (discussing

11   Sierra Club’s submission of public comments on the Final Environmental Impact Statement).

12   Mr. DeWitt’s concerns arise from a “Plan of Restoration and Operations” that the Forest Service

13   has “determined… to be administratively complete,” as noted in the declaration submitted by

14   Intervenor-Defendants. Dkt. 74 at ¶¶ 3-4. Given that the projects are sufficiently well developed

15   to be the subject of public notice and permitting review by various federal and state agencies,

16   they are sufficiently certain to support Plaintiffs’ standing to challenge the expanded Waste

17   Treatment System Exclusion.

18          Plaintiffs have also submitted organizational declarations describing how both the

19   substantive and procedural failures in the 2015 Rule harm the Plaintiff groups’ ability to achieve

20   their organizational missions. These too demonstrate a high degree of certainty, including the

21   organizations’ separate efforts to resist application of the expanded exclusion on particular

22   industrial sites (Decl. of Dalal Aboulhosn, Dkt. 67-4 at ¶¶ 9-13; Decl. of Austin Walkins, Dkt.

23   67-7 at ¶¶ 14), as well as procedural harm from lack of notice and comment on the 2015 Rule

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 1   adopting the expanded exclusion. (Decl. of Aboulhosn at ¶ 14; Decl. of Walkins at ¶ 14; Decl. of

 2   Chris Wilke, Dkt. 67-5 at ¶ 18).

 3          B.      Plaintiffs’ Injuries Are Fairly Traceable To The Agencies’ Actions And
                    Omissions In Their 2015 Rule.
 4
            The Agencies attempt to limit the standing analysis in this case to certain “ministerial
 5
     tweaks” adopted in the 2015 Rule. Dkt. 79 at 12. As discussed above in Section I, those
 6
     modifications were only one part of the Agencies’ final action permanently codifying the
 7
     expanded Waste Treatment System Exclusion for the first time ever in their 2015 Rule.
 8
     Plaintiffs’ harms are therefore traceable to that action.
 9
            The Agencies’ adoption of an unlawfully-broad Waste Treatment System Exclusion in
10
     2015 stems at least in part from their refusal to provide for full public notice and opportunity for
11
     comment. At a minimum, one possible outcome of a full notice-and-comment rulemaking in
12
     2015 was a decision by the Agencies to recognize that the Clean Water Act prohibits their
13
     expanded interpretation of the Waste Treatment System Exclusion. By refusing to put the
14
     question to a full airing through public notice and comment, the Agencies deprived Plaintiffs of
15
     the opportunity to press the Agencies to conclude that the original narrow interpretation is
16
     compelled by the statute. The deprivation of that opportunity is a procedural harm that is
17
     traceable to the procedural defect in the 2015 Rule.
18
            The Agencies also argue that the Plaintiffs’ harms are not traceable to the 2015 Rule
19
     because it was preliminarily enjoined in Alaska and Idaho. Dkt. 79 at 12. This argument
20
     demands that the Court make an unwarranted assumption: that even if the Agencies had adopted
21
     the narrow interpretation of the Waste Treatment System Exclusion in 2015 based on a finding
22
     that such interpretation is compelled by the Clean Water Act, a preliminary injunction
23
     nonetheless would have compelled the Agencies to continue permitting new waste treatment
24
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     PLAINTIFFS’ COMBINED REPLY IN                                                705 Second Ave., Suite 203
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 1   systems to be constructed in “waters of the United States.” On the contrary, the Agencies have

 2   never claimed that the expanded interpretation of the exclusion is compelled by the Clean Water

 3   Act. The Agencies have always retained discretion to prohibit discharges into all impoundments

 4   of “waters of the United States,” including waste treatment systems, absent a permit ensuring

 5   compliance with water quality standards. 33 U.S.C. §§ 1311(a), 1342. In short, even given a

 6   preliminary injunction, Plaintiffs would be better off today had they had the opportunity to

 7   engage in a full notice and comment rulemaking on the Waste Treatment System Exclusion. The

 8   present harm to Plaintiffs’ interests is therefore traceable to their adoption of the expanded

 9   exclusion without that opportunity. 3

10   IV.    EQUITABLE RELIEF IS NECESSARY TO PREVENT IRREPARABLE HARM,
            AND WELL WITHIN THE COURT’S AUTHORITY.
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            The Agencies’ arguments only affirm that a vacatur of their 2015 action on the Waste
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     Treatment System Exclusion would not provide an adequate remedy because they would simply
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     rely on EPA’s 1980 un-promulgated “suspension,” while claiming merely to be “[c]ontinuing
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     current practice.” See Dkt. 79 at 6, 14; 80 Fed. Reg. at 37,073, 37,097. Indeed, the Agencies
15
     argue that vacatur will not restore their obligation to provide a full public participation process
16
     before codifying the expanded exclusion, and will only restore the “regulatory regime in place”
17
     prior to 2015. Dkt. 79 at 14. Under that regime, the Agencies had for decades flouted EPA’s
18
     promise in 1980 to “carefully re-examine[]” the exclusion and “promptly to develop a revised
19

20
     3
      The Agencies mistakenly claim Plaintiffs have not demonstrated standing based on procedural
21   harms. Dkt. 79 at 14, n. 4. Although the standing section of their motion refers generally to the
     “Waste Treatment System Exclusion,” their motion makes clear that the denial of adequate
22   public process contributed directly to the substantive outcome. Dkt. 67 at 9-10, and their
     declarations make the same connection. See Decl. of Aboulhosn at ¶ 14; Decl. of Walkins at ¶
23   14; Decl. of Chris Wilke, Dkt. 67-5 at ¶ 18 (discussing the need for notice and comment to
     address the procedural harm.)
24
                                                                                   Earthjustice
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 1   definition and to publish it as a proposed rule for public comment.” 45 Fed. Reg. at 48,620.

 2          As noted above, the Agencies’ adoption of an unlawfully-broad exclusion in 2015 stems

 3   at least in part from their refusal to provide notice and opportunity for comment. It is therefore

 4   both fitting and proportionate to enjoin them from applying the expanded exclusion to new waste

 5   treatment systems unless and until they comply with the legally required public process.

 6          An injunction would not “direct EPA to take any specific action on waste treatment

 7   systems,” or any action at all. Contra Dkt. 79 at 13. The Agencies would remain free to continue

 8   applying the exclusion to manmade bodies of water created outside of jurisdictional waters,

 9   consistent with the only lawfully-promulgated version of the exclusion. 45 Fed. Reg. at 33,424

10   (May 19, 1980). They could restore the limiting language temporarily “suspended” in 1980, or

11   explain in a rulemaking how a different version of the exclusion is permitted by the Clean Water

12   Act. An injunction would leave the Agencies a variety of choices, including no-action.

13          Finally, the Agencies assert without basis that the Administrative Procedure Act

14   “limit[s]” the Court’s authority to “‘hold[ing] unlawful and set[ting] aside’ an action found to be

15   arbitrary and capricious,” Dkt. 79 at 13-14. This argument confuses what is required with what is

16   permitted. The Administrative Procedure Act requires vacatur of an unlawful or arbitrary and

17   capricious agency action, but nothing in that law limits the Court’s inherent authority to grant

18   equitable relief. 5 U.S.C. § 706.

19                                            CONCLUSION

20          Plaintiffs respectfully request that this Court grant their motion for summary judgment,

21   along with the declaratory and injunctive relief requested in their Motion, Dkt. 67 at 16-17.

22

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 1        Respectfully submitted this 14th day of June, 2019.

 2
                                                      s/ Jennifer Chavez
 3                                                    Jennifer Chavez
                                                      (Admitted Pro Hac Vice)
 4                                                    Anna Sewell, WSB # 48736
                                                      EARTHJUSTICE
 5                                                    1625 Massachusetts Avenue, NW, Suite 702
                                                      Washington, D.C. 20036
 6                                                    (202)667-5233
                                                      asewell@earthjustice.org
 7
                                                      Janette K. Brimmer, WSBA # 41271
 8                                                    EARTHJUSTICE
                                                      705 Second Avenue, Suite 203
 9                                                    Seattle, WA 98104
                                                      (206) 343-7340
10                                                    jbrimmer@earthjustice.org

11                                                    Counsel for Puget Soundkeeper Alliance,
                                                      Sierra Club, and Idaho Conservation
12                                                    League

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                                                                          Earthjustice
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 1
                                      CERTIFICATE OF SERVICE
 2
            I hereby certify that on June 14, 2019, I electronically filed the following documents with
 3
     the Clerk of the Court using the CM/ECF system, which will send notification of this filing to the
 4
     attorneys of record and all registered participants:
 5
                1. Plaintiffs’ Combined Reply in Support of Motion for Summary Judgment and
 6                 Response to Cross-Motion
                2. Declaration of Jennifer Chavez in Support of Plaintiffs’ Combined Reply in
 7                 Support of Motion for Summary Judgment and Response to Cross-Motion
                3. Exhibit A
 8              4. Exhibit B

 9
                                                    /s/ Jennifer Chavez
10                                                  Jennifer Chavez

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                                                                                Earthjustice
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